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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                       CLERK’S OFFICE
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                                    March 20, 2024

               2023-1917 - QuantifiCare S.A. v. Canfield Scientific, Inc.

                     NOTICE OF NON-COMPLIANCE
The document Corrected Appendix submitted by QuantifiCare S.A. is not in
compliance with the rules of this court. Within five business days from the date of
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following:

   •   A single appendix volume may not exceed 400 printed pages (equating to 800
       electronic pages if the paper copies are printed double-sided). Fed. Cir. R.
       30(a)(4). Refer to the Practice Notes to Rule 30 (Appendix Volumes).


                                         ***

 If applicable, the deadline for the next or responsive submission is computed from
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                      appeal pursuant to Fed. R. App. P. 31(c).


                                               FOR THE COURT




                                               By: J. Phillips, Deputy Clerk
